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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

 TAYLOR JONES                                   CIVIL ACTION NO. 22-565

 VERSUS                                         CHIEF JUDGE S. MAURICE HICKS, JR.

 CITY OF BROUSSARD                              MAGISTRATE JUDGE CAROL B.
                                                WHITEHURST


                                  ORDER OF DISMISSAL

 The Court having been advised by counsel for the parties that the above action has been

 settled,

        IT IS ORDERED that this action is hereby DISMISSED, without prejudice to the

 right, upon good cause shown within ninety (90) days of the signing of this Order, to

 reopen the action if settlement is not consummated. The Clerk is now requested to close

 this case.

        IT IS FURTHER ORDERED that within ninety (90) days of the signing of this Order,

 the parties shall submit to the Court: (1) a joint motion to dismiss accompanied by a

 proposed order; or (2) a Rule 41(a)(1)(A)(ii) stipulation of dismissal signed by all parties

 who have appeared in this action. Any motion that may be pending in this case is hereby

 DENIED AS MOOT.

        THUS DONE AND SIGNED at Shreveport, Louisiana, this 5th day of April, 2022.
